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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


HOUSTON FEDERATION OF                         §
TEACHERS, LOCAL 2415,                         §
DANIEL SANTOS,                                §
PALOMA GARNER, IVAN CASTILLO,                 §
ANDY DEWEY, JOYCE HELFMAN,                    §
MYLA VANDUYN, and                             §
ARACELI RAMOS                                 §
                                              §
                                              §
                        Plaintiffs            §
                                              §
v.                                            §       CIVIL ACTION NO. _ _ _ _ __
                                              §
HOUSTON INDEPENDENT                           §
SCHOOL DISTRICT,                              §
                                              §
                        Defendant             §

                           PLAINTIFFS' ORIGINAL COMPLAINT

                                          I. INTRODUCTION

        1. This cause is filed under 42 U.S.C. Section 1983 to challenge and redress Houston

Independent School District's violation of the constitutional rights ofteachers to due process and

equal protection under the Fourteenth Amendment to the United States Constitution. The

challenged actions were taken under color of state law. The plaintiffs seek equitable, declaratory,

injunctive relief, and attorneys' fees.

                                II. JURISDICTION AND VENUE

       2. This Couti has subject matter jurisdiction over this action pursuant to 28 U.S.C.

Sections 1331 and 1343, as this case involves a matter of federal law and arises under the rights

and liberties provided for in the United States Constitution.

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        3. Venue is proper in this Court as defendant Houston Independent School District is a

political subdivision located within Hall'is County, Texas, within this division of the Southern

District of the United States District Court.

                                       III. PARTIES

        4. Plaintiff Houston Federation of Teachers ("HFT") is a labor union that represents

teachers and other employees of Houston Independent School District in matters related to their

wages, hours, and terms and conditions of employment. It is affiliated with the Texas American

Federation of Teachers, a statewide organization, and the American Federation of Teachers, a

national organization. As required of labor organizations representing public employees in

Texas, HFT does not claim the right to strike. HFT has its principal place of business at 3100

Weslayan #255, Houston, Texas 77027-0081, in Hall'is County, Texas.

        5. Plaintiff Daniel Santos is a sixth grade social studies teacher at Jackson Middle School.

He has taught for HISD since 2006. During his teaching career, he has received numerous awards,

both district-wide and on the Jackson campus, including being named as a finalist for HISD's

Alternative Cetiification Program Intern of the Year in 2006-2007, his first year of teaching, and

being named as the Jackson Teacher of the Year in 2007-2008. In 2014, he received special

recognition from HISD for regularly going above and beyond the regular duties of a teacher. In

addition to his teaching responsibilities, Mr. Santos takes it upon himself to sponsor several clubs

and after-school activities for Jackson students. He communicates his own passion for social

justice to his students.

        6. Plaintiff Paloma Garner is a ninth grade biology teacher at Davis High School. She has

taught for HISD since 2004. She started her teaching career with Teach for America and helped


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write the national curriculum for biology for Teach for America. OneGoal, a national organization

that identifies and trains effective teachers to assist underperfonning students who wish to attend

college, selected her to be a mentor. Similarly, in 2013, the UTeach program at the University of

Houston, a program that seeks to develop and support innovative teaching in the areas of science,

technology, engineering and mathematics, recognized Ms. Garner as an exemplary mentor

teacher. Her students repeatedly single her out as a teacher who inspires them.

        7. Plaintiff!van Castillo is a fourth grade bilingual teacher at Briscoe Elementary

School. He has taught for HISD since 1994, with all of those years at Briscoe. He is a bilingual

teacher in the campus' dual language program and has served as a leader for his grade level. Mr.

Castillo is the Briscoe Elementary Bilingual Teacher of the Year in20 13 - 2014 and is a finalist for

Bilingual Elementary Teacher for HISD. He was also the Briscoe Bilingual Teacher of theY ear in

2006-2007 and 2001-2002. In 1998-1999, he was the Briscoe Elementary Teacher of the Year.

HISD administrators have praised the way in which he consistently engages his students and

provides excellent feedback to them.

       8. Plaintiff Andy Dewey is a history teacher at Camegie Vanguard High School. He has

taught for HISD since 1978. He teaches Advanced Placement U.S. history as well as two history

electives: a course called "1968" and another called "The World Wars." Mr. Dewey developed the

curriculum for his two elective courses, both of which are very popular with Camegie Vanguard

students. Before moving to Carnegie Vanguard when it opened, Mr. Dewey taught in the magnet

program at Jesse Jones High School. His performance is consistently rated well by his

administrators. In2004- 2005, he was the Camegie Vanguard Teacher of the Year. Mr. Dewey's

students come back year after year to tell him how well they are doing in college and what a


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difference he made in their lives.



       9. Plaintiff Joyce Helfman is an eighth grade English teacher at Johnston Middle School.

She has been teaching at Johnston since 2004. She regularly teaches the gifted and talented

English sections. Every year, Ms. Helfman organizes and sponsors a field trip for her students to

the Holocaust Museum. She has a consistent record of strong performance and is well respected by

her colleagues at Jolmston.

        10. PlaintiffMyla VanDuyn is a ninth grade biology teacher at Davis High School. She has

taught for HISD since 2001. She has won several teaching awards, including being honored in

2013 as an exemplary teacher by the UTeach program at the University of Houston, a program that

seeks to develop and support innovative teaching in the areas of science, technology, engineering

and mathematics, and has been nominated as Teacher of the Year at Davis. She has produced

biology labs that are used by science teachers across HISD and published a biology lesson. Ms.

Van Duyn was selected to receive a grant for innovative professional development by a national

organization, the Fund for Teachers. She successfully instills her own curiosity for science in her

students.

       11. Araceli Ramos is a ninth grade English teacher at Austin High School. She has taught

for HISD since 1997. All of her time teaching high school English has been spent at Austin High.

Ms. Ramos grew up in a low-income home and was the first member of her family to attend

college. She has devoted her teaching career to teaching and helping similarly situated students.

She sought out the assignment to Austin High for this very reason. Ms. Ramos has won accolades

from students and teachers for her expertise and devotion to her students. In 2014, Ms. Ramos was


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asked by her campus counselor to tutor teachers on the Texas English Language Proficiency

Assessment System.

        12. Defendant Houston Independent School District ("HISD") is a political subdivision

of the State ofTexas. It is an independent school district within the State of Texas, organized

pursuant to state law, and charged with the responsibilities of operating and maintaining a public

school system within its geographical boundaries. It may be served through its Superintendent, Dr.

Terry Grier, Houston Independent School District, 4400 West 18111 Street, Houston, Texas 77092.

                       IV. ASSOCIATIONAL STANDING ofHFf

        13. HFT has over 6000 members, the majority of whom are classroom teachers. As a

labor union, HFT is interested in enforcing and protecting the employment rights of its members,

who work hard to provide an education to the schoolchildren who attend HISD schools. Fmiher,

among the purposes ofHFT is the improvement of public education in Texas, which is tied

inextricably to the improvement of the working conditions and professional standing of teachers

and other public school employees. Thousands ofHFT's members are aggrieved by the actions of

the defendant and HFT brings this action on their behalf.

         14. HFT is a consultation representative for HISD teachers and other employees and has

the largest number of representatives on the HISD consultation committee. HFT meets monthly

with members of the HISD administration in consultation over terms and conditions of

employment. HFT has the protection of employment rights and benefits of its members as one of

its central purposes. This action is germane to that purpose.

       15. HFT members who are aggrieved by the actions of the defendant have standing to file

this action on their own behalf.


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        16. Neither the claims asserted herein nor the relief requested requires the filing of

individual petitions for relief nor the participation of individual members as parties in this action.

                                 V. STATEMENTOFFACTS

A.      Teacher contracts in HISD.

        17. In HISD, all teachers are employed under one of three types of individual

employment contracts: probationary, term, or continuing. See Tex. Educ. Code §21.102, §21.204,

§21.154. A teacher will be placed on a probationary contract for the first three years of

employment, after which time she will receive a tenn contract. HISD issues one year term

contracts to all teachers who have completed probation. HISD ceased issuing continuing contracts

in 1996 but still has thousands of teachers who hold continuing contracts because they received

those contracts prior to 1996.

        18. Regardless of the type of contract that a teacher holds, he or she has a property interest

in employment during the term of the contract.

        19. In HISD, as in other Texas school districts, the applicable standards and procedures

for terminating or nonrenewing teachers depend on what type of employment contract the teacher

possesses. Specifically, continuing contract teachers have a contract of indefinite duration, with

termination to occur only upon good cause, and employment to continue until the teacher either

resigns, retires, is released at the end of a school year in a reduction in force, or is terminated for

cause. Tex. Educ. Code §21.154; §21.156. A term contract teacher may only be terminated for

good cause during tenn of contract. Tex. Educ. Code §21.211 (a). While the Texas Education Code

specifies that a term contract teacher does not possess a propetiy interest in continued employment

beyond the term of the contract, the Education Code provides for due process rights in conjunction


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with the nomenewal of the contract and requires that the nomenewal be for a pre-established

reason in a district's nomenewal policy. Tex. Educ. Code §21.204(a) and (e); §21.207. A

probationary contract teacher may only be terminated for good cause during term of contract but

may be terminated at the end of the contract year if the school board determines that it is in the best

interest of the district to do so. Tex. Educ. Code §21.104(a); §21.103(a)

        20. Under the Texas Education Code, the Texas Education Agency, acting through the

Commissioner of Education, is charged with hearing appeals of termination or nomenewal

decisions made by local school districts, and interpreting the pertinent provisions of the Education

Code. See Tex. Educ. Code Section 7.055(b)(1)(3); 21.301 et seq.

B.     Measuring teacher performance in HISD.

       21. In the 2012-2013 school year, HISD began counting student performance on

standardized tests as the most significant component of a teacher's performance appraisal. See

HISD Policy DNA (Regulation). For teachers who teach the core subjects of reading, writing,

math, science, and social studies, HISD counts student performance as 50% of a teacher's overall

appraisal score. The other two measures of a teacher's performance are instructional practice and

professional expectations, each counting 25%.

       22. With regard to student performance, HISD's teacher appraisal system provides that a

teacher's ratings will be based on how his or her students perform on end-of-year or end-of-course

tests. Teachers are supposed to have two measures of student performance included in their

performance appraisal. Student performance is measured by student "growth" --that is,

comparing a student's current performance to his performance in years past-- and/or student

achievement levels. Depending on the subject and the grade level, there are five possible student


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performance measures: value-added growth, comparative growth on district-wide assessments,

students' progress on district-wide or appraiser-approved assessments, students' progress on

district-wide appraiser-approved performance tasks or products, and student attainment on

district-wide or appraiser-approved assessments. See HISD Teacher Appraisal and Development

System Student Performance Guidebook, available at

http://hisdeffectiveteachers.org/assets/SP Guidebook 7-11-12 FINAL with links.pdf.

       23. The primary test that HISD uses in measuring student growth is the State of Texas

Assessment of Knowledge and Skills (STAAR) test, the state-mandated, state-wide, standardized

assessment test. The STAAR test is a criterion-referenced test, meaning that it is intended to

measure how well a student has learned a specific body of knowledge and skills - in this case, the

curriculum standards, the Texas Essential Knowledge and Skills (TEKS), for a subject area and

grade level. See description of STAAR test, available at

http://www.tea.state.tx.us/student.assessment/staar/. The STAAR program requires its tests to be

administered in the core subjects of reading, writing, math, science and social studies. It includes

end-of-year assessments for grades 3 - 8 in reading and math, in writing at grades 4 and 7, in

science at grades 5 and 8, and in social studies at grade 8. At the high school level, it includes

end-of-course assessments in English I (grade 9), English II (grade 10), Algebra I (grade 9),

biology (typically grade 9) and U.S. History (typically grade 11). See Student Performance

Measures by Grade Level, available at

http://hisdeffectiveteachers.org/assets/Measures by Grade Level Revised 10 4 12.pdf.

       24. Not all core subjects in all grades are STAAR-tested. In some subjects and grades,

such as science in grades 4, 6, and 7, and social studies in grades 4, 5, 6, and 7, HISD administers


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another standardized test, the Stanford test (or Aprenda, the Spanish language version of the

Stanford test). Unlike the criterion-referenced STAAR test, the Stanford/Aprenda test is a national

norm-referenced test, a form of test designed to compare test takers taking the same test all over

the United States. Unlike the STAAR test, the Stanford test is not based on the required curriculum

for Texas schools. See description of the Stanford test, available at

http://www. pearsonassessments. com/1 earningassessments/products/ I 00000415/stanford-achieve

ment-test-series-tenth-edition.html. In a norm-referenced test, scores are rep01ted as a percentage

rank with half scoring above and half scoring below the midpoint. In HISD, if the STAAR test is

not available but the Standford/Aprenda is, HISD incorporates the student scores on the

Stanford/Aprenda test into the student performance measure. See Student Performance Measures

by Grade Level, available at

http://hisdeffectiveteachers.org/assets/Measures by Grade Level Revised 10 4 12.pdf.

        25. For teachers who teach other grade levels or subjects, such as pre-kindergarten

through second grade, non-core subjects in grades 3 - 8, and high school teachers who teach

courses that do not yet have a STAAR end-of-course assessment associated with the course, HISD

uses the students'perfonnance on other types of assessments to generate the students'

performance measure. !d.

        26. With regard to the instructional practice area, the teacher's performance is assessed

through classroom observations and is measured through the application of 13 instructional

criteria, such as engaging students in higher-level instruction, facilitating student-centered lessons,

developing student learning goals, and maximizing instructional time. See HISD Teacher

Appraisal and Development System, Rubrics, available at


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http://hisdeffect ivet each ers. org/indi vidual ized -support/resources-for-teachers-and -appraisers/rub

ric. pdf. A teacher's performance in the professional expectations area is assessed through the

application of a set of 9 objective, measurable standards reflecting the teacher's professionalism,

such as compliance with policies and procedures, collaboration with colleagues, and attendance.

I d.

C.        Value-added EVAAS® scores.

          27. HISD teachers who teach core subjects receive a student performance score that is

derived using a value-added statistical model. For those teachers who have a value-added student

performance score, student performance will count for approximately 50% of teacher's summative

rating. See HISD's Frequently Asked Questions about Student Performance, available at

http://hisdeffectiveteeachrs.org/studentperformance/fag.

          28. Where available, HISD will use a value-added measure and a comparative growth

measure (a measurement of the progress of a teacher's students on a given assessment compared to

the progress of all other students within the school district who start at the same test-score level) to

assess student performance for the purposes of the teacher's appraisal. HISD prefers the

value-added measure over all other measures and will use it for all teachers for whom it is

available. If a teacher is one who receives a value-added score, the value-added score will always

be used as the "first measure" in rating the teacher for student performance. See HISD Teacher

Appraisal and Development System Student Performance Guidebook at 17, available at

http://hisdeffectiveteachers.org/assets/SP Guidebook 7-11-12 FINAL with links.pdf.

          29. In general, value-added methodology in this context examines student test scores over

a period of time. As applied to individual teachers, it purpmts to isolate and measure the effect of a


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single teacher on a student's academic growth over the school year, as opposed to the cumulative

effect of prior years of education or other teachers. Further, depending on the detail of the

particular type of value-added model, the methodology attempts to control for the influence of

classroom and/or student characteristics outside the teacher's control, so that a percentage of

growth can be attributed to a particular teacher over a specified period of time; in other words, so

that it can be determined if a particular teacher has "added value" to the student's performance.

Many academics and scientists have been highly critical of the validity of using value-added

methodology to measure the effectiveness of individual teachers, citing, among other factors, three

well-documented problems: I) value-added models of teacher effectiveness are highly unstable;

2) teachers' value-added ratings are significantly affected by differences in the students who are

assigned to them, and 3) value-added ratings cannot disentangle the many influences on student

progress. Darling-Hammond, L., eta/., Getting Teacher Evaluation Right, A Background Paper·

for Policy-Makers, National Academy ofEducation and American Educational Research

Association (2011 ).

       30. There are many vendors who market value-added statistical models using different

formulas, different assumptions, and different controls. Value-added models vary based on a

number of factors, including not just the mathematical constructs that are employed, such as the

particular algorithms used to perform the calculations, but also on the variety of assumptions that

are used in analyzing the data. Different models yield different results about which teachers can be

considered to have "added value."

       31. All value-added models, though, are merely statistical predictions about how a

student will score on a standardized test based on how the student performed in the past.


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According to a recent statement from the largest national organization of statisticians, the

American Statistical Association, value-added scores "have large standard errors, even when

calculated using several years of data. These large standard errors make rankings unstable, even

under the best scenarios for modeling." American Statistical Association (April 8, 20 14), ASA

Statement on Using Value-Added Models for Educational Assessment at 7, available at

http://www.amstat.org/policy/pdfs/ASA VAM Statement.pdf. Accordingly, statisticians and

other expmts have cautioned that the estimates from such modeling are too imprecise to suppmt

inferences about the effectiveness of an individual teacher. See, e.g. RAND Corporation (2004),

The Promise and Peril of Using Value-Added Modeling to Measure Teacher Effectiveness, Santa

Monica, CA: RAND Education Research Brief, available at www.rand.org. The National

Academies, Division of Behavioral and Social Sciences and Education, have stated: "VAM

[value-added models] estimates of teacher effectiveness should not be used as the sole or primary

basis for making operational decisions because the extent to which the measures reflect the

contribution of teachers themselves, rather than other factors, is not understood." National

Academies, Board of Testing and Assessment (October 5, 2009), Leller Report to the U.S.

Department ofEducation on Race to the Top Proposal, Washington, D.C. at 10, available at

www.nap.edu/catalog/12780. Similarly, while generally endorsing the usefulness of value-added

modeling to provide quantitative information for improving educational processes, the American

Statistical Association stresses that "VAMS typically measure correlation, not causation: Effects-

positive or negative -may actually be caused by other factors that are not captured in the model."

ASA Statement at 2. "The majority of the variation in test scores is attributable to factors outside

the teacher's control such as student and family background, poverty, curriculum and unmeasured


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influences." !d. at 7.

        32. The particular value-added methodology that HISD uses is one developed and

marketed by a private software company called SAS®. SAS® provides a product called the

Educational Value-Added Assessment System ("EVAAS" ®). The EVAAS system is

controversial. See, e.g., Amrein-Beardsley, A., & Collins, C. (2012), The SAS Education

Value-Added Assessment System (SAS®EVAAS®) in the Houston Independent School District

(HISD): Intended and Unintended Consequences, Educational Policy Analysis Archives.

        33. Using a complex and opaque methodology, SAS® produces a value-added

"EVAAS® score" for individual teachers, refetTed to as the Teacher Gain Index (TGI) score,

based on the performance of the teacher's students. While SAS® refers to it as a "score," it is

actually only a statistical estimate. EVAAS® uses a student's performance on prior standardized

tests to predict the level of growth that a student should have in a given year and then, using the test

scores from the year in question, purports to determine whether the student has demonstrated the

expected growth. How much a student is expected to grow is just a statistical estimate, based on

the student's past performance on tests. As an example of how different value-added

methodologies vary, the EVAAS® method does not control for socioeconomic or demographic

variables in making its predictions about a student's performance, while many other such models

do try to control for these factors. See A Response to Criticisms of SAS® EVAAS®, William L.

Sanders, S. Paul Wright, June C. Rivers, Jill G. Leandro, November 2009 at 5.

       34. Algebraically, the EVAAS® teacher value-added model is expressed as follows:



               Yijkl = fljkl    + cI:                Wijk*l*t X Tijk•l•t)      + Eijkl·
                                     k* '5.k

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In the model, "yijkl is the test score for the ith student in the jth subject in the kth grade in the /th

year. tijk* I* I is the teacher effect of the lth teacher on the ith student in thejth subject in grade k*

in year/*." SAS® EVAAS® Statistical Models, S. Paul Wright, John T. White, William L.

Sanders, June C. Rivers, March 25,2010 at 7.


          35. Beginning in 2013, the TGI score has been calculated based on a comparison of the

growth of the teacher's students against the average growth of students statewide. See HISD

Campus and Teacher Reports Questions and Answers, available at www.houstonisd.org/ASPIRE.

(In prior years, the score was tied to the average growth of students in HISD.) If a teacher has a

negative value-added TGI score, HISD takes that to mean that, on average, the teacher's students

did not achieve the expected level of growth. If the teacher has a positive value-added TGI score,

HISD takes that to mean that, on average, the teacher's students exceeded the expected level of

growth.


        36. TGI scores are calculated for each qualifying course, subject, and grade level

("preps") for which a teacher is responsible. If teachers have multiple preps, then they will have

multiple TGI scores. Multiple TGI scores are averaged into a composite TGI score. See Appendix

B to HISD's Student Performance Guidebook, available at

http://hisdeffectiveteachers.org/assets/SP Guidebook 7-11-12 FINAL with links.pdf.


        37. Once SAS® calculates the TGI scores, the scores are translated into a performance

rating with 5 values assigned, based on growth rate compared to the standard for academic growth:




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VALUE-ADDED RATING         EVAAS® TGI SCORE                           RELATIONSHIP TO EXPECTED
                                                                      AVERAGE GROWTH
Well above                 Equal to or greater than 2                 Students on average substantially
                                                                      exceeded expected average growth
Above                      Equal to or greater than I but less than   Students on average exceeded
                           2                                          average growth
No detectable difference   Equal to or greater than -I but less       Students on average met expected
                           than I                                     growth
Below                      Equal to or greater than -2 but less       Students on average fell short of
                           than -I                                    average growth
Well below                 Less than -2                               Students on average fell substantially
                                                                      shmt of expected average growth

See Sample Value-Added Report, attached and incorporated herein as Exhibit A.

        38. The student test scores used to genei-ate the EVAAS® scores are not available until

after the students take the standardized tests in late spring of a given academic year. HISD provides

the student test data to SAS®, which then builds the statistical model over the next several months

and calculates the TGI scores. Thus, for those teachers receiving EVAAS® scores, it is not

possible for HISD to provide teachers with their student performance rating or their completed

performance appraisal until well into the following school year, when the teacher is already

teaching a different group of students.

        39. More than one-third ofHISD teachers receive EVAAS® scores based on STAAR, or

Stanford.

D.      Penalties and sanctions for low EVAAS scores.

        40. If the teacher's students did not achieve the expected level of growth, HISD holds the

teacher responsible and imposes a range of penalties and sanctions. HISD uses EVAAS® as a basis

for a number of high stakes employment decisions. HISD considers low EVAAS® scores to

constitute good cause for termination and nonrenewal. See HISD Policy DFBB (Local)


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(identifying "insufficient student academic growth as reflected by value-added scores" as a reason

for nonrenewal). For example, at the end of May 2013, HISD took contract action against at least

21 teachers on continuing and term contracts, based on their EVAAS® scores.

        41. Fmther, a low EVAAS® rating triggers the imposition of a prescriptive plan for

assistance (also known as a "growth plan"), which require the teachers to complete additional

training, professional development, and tasks. Teachers with low EV AAS® ratings are not eligible

for individual merit pay bonuses. Such teachers are not eligible for transfer to another campus.

HISD has denied such teachers the opportunity to teach summer school for extra income.

        42. Plaintiffs Daniel Santos, Myla VanDuyn, and Araceli Ramos, all exceptional

teachers, were placed on growth plans after their 2013 EVAAS® scores came out in the fall of

2013 as supposedly showing below average effectiveness.

E.      The vague standard of sufficient student growth.

        43. While HISD will penalize and fire teachers for demonstrating "insufficient student

academic growth as reflected by value-added scores," the level of growth that it considers

sufficient, with its necessary reference point of"average growth," is not defined. Indeed, the

average growth for the students that a teacher is responsible for, and below which they cannot fall,

is not determined until the student test scores are calculated over the summer and the teacher is no

longer teaching them. Thus, at no time during the school year does a teacher know the level of

growth that the students will need to demonstrate; she finds this out only after her scores come out

in the fall and the students have moved on.

        44. Additionally, a teacher's ratings are recalibrated yearly, as more data about student

scores are added to the model. See HISD Campus and Teacher Reports Questions and Answers,


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available at www.houstonisd.org/ASPIRE.Thus, it is not uncommon for a teacher to be assigned a

particular rating for one year and when a new report is issued, for that rating to be changed. For

example, in 2012, based on her students' scores, plaintiff Joyce Helfman received a rating of

average effectiveness in teaching language, although based on the same students' scores in

reading, she also received a rating ofleast effective. The next year, 2013, her students' growth

projections from the prior year were recalibrated. In 2013, her value-added report shows that her

rating for 2012 had gone down from average effectiveness to below average in language while her

rating in reading had gone up from least effective to approaching effectiveness.

       45. HISD does not provide meaningful or sufficient information about the connection

between teaching behavior and the students' test performance. While teachers receive an

EVAAS® score and accompanying value-added report which shows, for example, the growth of

the teacher's students in comparison with the growth of other students or the levels of student

achievement in prior years versus the year at issue, the information that is made available to

teachers does not reveal what teachers really need and want to know: what is the cause and effect

between the teacher's teaching performance and the student's test performance. A sample of a

teacher's value-added repmi is attached and incorporated herein as Exhibit A.

       46. As teachers search for an explanation for the different ratings that they receive from

year to year, HISD provides only useless generalities, such as: "[I]f your results change from one

year to the next with a different student group, consider these questions: I) Could the curriculum

and instruction have been better suited to the needs of one student group than another? 2) Did any

other changes on the campus influence students' academic growth (e.g., schedule, instructional

suppmi, intervention, student population, etc.)?" See HISD Campus and Teacher Reports


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Questions and Answers, available at www.houstonisd.org/ASPIRE. As to the first question, this

suggestion is of no practical effect because at the point in time when the teacher receives the

EVAAS® scores, he is no longer teaching those students. The factors listed in the second question

are equally useless because those variables, which do indeed affect student performance, are

completely out of the teacher's control.

         47. The EVAAS® system does not inform teachers about what they could or should be

doing differently in their teaching practices to yield the test results demanded by the school district

and for which they are being held responsible. Teachers are not informed what they are doing

differently from year to year that could explain the swings in scores that they experience. HISD

does not provide this explanation because HISD does not know why they occur. Without this

information, not only are the teachers not informed in advance of the standard that they will be

held responsible for meeting but they are also not informed how to conform their behavior to meet

it.

         48. For example, plaintiff Joyce Helfman's EVAAS scores in reading and language usage

have swung widely from year to year, despite the fact that she has taught eighth grade English at

the same school in essentially the same fashion for a number of years. In2013, her students' scores

of well above average growth earned her a designation of most effective; in 2012, scores of below

average growth earned her a designation of approaching average effectiveness; in 2011, average

effectiveness; in 2010, below average, and in 2009, above average. Similar swings are seen in her

language usage scores. In 2013, her students' scores generated a rating of above average

effectiveness; in 2012, she was rated as approaching average effectiveness; in 2011, she was rated

as most effective (contrast that with her average effectiveness rating in reading); in 2010, above


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average. HISD has not provided plaintiff Helfman with anything approaching an adequate

explanation for the swings in her scores.

           49. As another example, plaintiff Dewey's scores have also been unstable although he

teaches the same subject, Advanced Placement U.S. history, year after year. For example, in 2011

-2012, Mr. Dewey's EVAAS score was so high that he earned the top merit pay award that HISD

distributed that year and earned the designation of"most effective" teacher. In 2012-2013, his

EVAAS score swung sharply down because his students did not do as well as they had been

predicted to do or because the estimates of how well they would do were wrong, so that in any

event, Mr. Dewey went from being deemed one of the highest performing teachers in HISD to one

making "no detectable difference" for his students. HISD could not provide an explanation about

what this dip in scores had to do with Mr. Dewey's teaching.

F. The Misuse ofEVAAS Scores In Other Performance Measures.

           50. While teachers are supposed to be appraised and rated separately in each of the three

areas -- student performance, instructional practice and professional expectations --the EVAAS®

scores that teachers receive are negatively affecting their ratings in instructional practice. As

opposed to measures of student performance, a teacher's strengths and weaknesses in instructional

practice are supposed to be evaluated based on classroom observations of teaching performance in

accordance with a specified set of 13 different criteria. See HISD Teacher Appraisal and

Development System, Rubrics, available at

http://hisdeffectiveteachers.org/individualized-suppoti/resources-for-teachers-and-appraisers/rub

ric.pdf.

           51. On information and belief, HISD has directed and pressured its campus


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administrators to ensure that the instructional practice ratings "align" or "match" the EVAAS®

ratings that a teacher receives so that there is not a significant discrepancy between the ratings that

a teacher receives for instructional practice and her student performance outcomes as measured by

the value-added metric. For example, in its Year One Summary Report concerning its newly

restructured appraisal system, with its heavy emphasis on student performance to drive teacher

ratings, HISD stresses two related findings: "While there is a meaningful, positive relationship

between Instructional Practice ratings and school level EV AAS®, many schools are not aligning

their assessment of classroom practice with student growth," and "[i]ndividual teacher ratings and

student growth are also conelated, though there is significant room for improvement in aligning

teacher IP [instructional practice] scores to student outcomes." HISD Teacher Appraisal and

Development System- Year One Summary Report (November 2012) at 3, available at

http://hisdeffectiveteachers.org/yearonesummary. In its report, HISD compiled statistics showing

that 77% of teachers with low EVAAS® scores in 2011-2012 received at least a Level 3 for their

instructional practice rating. Id at 14.

        52. On information and belief, HISD has directed and/or pressured its campus

administrators to conduct classroom observations for teachers who received low EVAAS® ratings

in October 2013, to manufacture deficiencies or otherwise find fault with the instructional

practices demonstrated by the teacher in the classroom and to score the teacher accordingly on the

instructional practice criteria, and to place such teachers on growth plans to correct the

manufactured instructional practice deficiencies. Again, the two measures, instructional practice

and student performance, are designed to be evaluated separately and student performance is not

an expressed criterion for evaluating a teacher's instructional practice. See See HISD Teacher


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Appraisal and Development System, Rubrics, available at

http://hisdeffectiveteachers.org/individualized-support/resources-for-teachers-and-appraisers/rub

ric. pdf. Teachers who receive average or better EV AAS® scores are not subjected to this practice.

        53. In 2013, HFT conducted a survey ofHISD principals. Seventy (70) principals

responded. Of those, 74% stated that they were pressured to give lower scores on observations and

evaluations than they thought teachers deserved.

        54. For example, plaintiffs Daniel Santos, Myla VanDuyn, and Araceli Ramos were

placed on growth plans following the release of their below average EVAAS® scores in the fall of

2013. Prior to this time, these veteran teachers had been rated as effective teachers who met or

exceeded expectations in their instructional practices. Once their EVAAS® scores came out,

however, these teachers were suddenly deemed deficient in various instructional practices and

placed on growth plans. Plaintiff Paloma Garner, while not placed on a growth plan, has

experienced lower ratings in instructional performance after her EVAAS® scores came out even

though in past years she has been rated as exceeds expectations.

G.      EVAAS scol'ing is secl'et and opaque.

        55. Under its contract with SAS® to generate EVAAS® scores for its teachers, HISD

provides the student test data to SAS® and is also responsible for providing information to SAS®

about which teachers teach which students. SAS® then merges and performs the statistical analysis

of the data provided by HISD and produces the EVAAS® scores and various EVAAS® reports.

        56. HISD does not require SAS®, as a condition of performing this work for HISD, to

make its statistical modeling analysis available to HISD or its teachers.

        57. HISD does not independently verify the statistical analysis performed by SAS® that


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results in the EVAAS® scores assigned to HISD teachers.

        58. In accordance with the service contract that HISD and SAS® signed, HISD claims

that the analysis that SAS® uses to calculate EVAAS® scores is a proprietary trade secret and that

it neither owns nor has access to the information regarding the EV AAS® calculations.

        59. On November 13, 2013, under the provisions of Tex. Govt. Code Section 552.001 et

seq. ("TPIA"), HFT submitted a Public Information Act request related to the EVAAS® scores of

dozens of its members. Consistent with similar responses to similar requests in the past, HISD

provided a limited response. While SAS® has made available some information regarding its

statistical analysis, such as its algebraic formulas and general descriptions of its statistical models,

it has refused to release other critical information, including but not limited to the computer source

codes, decision rules, and statistical controls which are used to actually merge the data, perform

the analysis, and generate the scores. Thus, for example, in response to a request for the computer

source codes used to generate the EVAAS® scores for a list of its members, HISD responded that

it did not possess documents responsive to the request. When asked for the decision rules, the

methodological assumptions, every step and decision applied in the value-added analysis used to

generate the EVAAS® scores, and other specific information regarding the execution of the

modeling used to produce the scores, HISD only provided general descriptions.

        60. Without this information, it is impossible for a teacher to be able to examine or

replicate the analysis, verify the analysis and the resulting score, establish that an alternative

value-added model would show that the teacher's students showed academic growth, establish that

the assigned score is an unreliable measure, or effectively challenge the analysis performed by

SAS® or the resulting EVAAS® score.


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        61. Neither HFT nor any of its affected members, including but not limited to the named

plaintiffs, is able to compel the production of this information. Under Texas law governing teacher

terminations and contract non-renewals, a teacher is not permitted to wait until the hearing on her

termination or non-renewal to challenge an EVAAS® score or other negative performance

documentation. Thus, even assuming, arguendo, that a teacher could obtain such third-party

information during the course of a termination or non-renewal, a proposition with which the

plaintiffs do not agree, it would be too late in that process to raise a complaint about an EVAAS®

score. The only mechanism available to secure information at this juncture is through a Texas

Public Information Act request to HISD, an avenue which has been effectively foreclosed by the

actions of SAS® and HISD to hide this information. HISD teachers are deprived of a meaningful

opportunity to verify or challenge their ratings.

H.      Special problems: middle school science and social studies teachers.

        62. EVAAS scores in core subjects are usually based on students results on the STAAR

exam but as described above, not all core subjects are STAAR-tested in all grades. See Student

Performance Measures by Grade Level, available at

http://hisdeffectiveteachers.org/assets/Measures by Grade Level Revised 10 4 12.pdf. For

those grades and subjects that are not STAAR tested, HISD uses the Stanford/Aprenda test as a

basis for the teacher's value-added score, the first measure of student performance.

         63. Unlike STAAR tests, the Stanford/Aprenda test is not based on the state curriculum

standards; instead, it is a national test based on the testing company's more general determination

of what knowledge a student at that grade level should know about a particular topic. HISD has

determined that the Stanford/Aprenda curriculum is not sufficiently aligned to what HISD requires


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a teacher to teach in order for a student's perfonnance on the Stanford/Aprenda to be an

appropriate measure of a teacher's effectiveness in the following areas: Social Studies in Grades 4,

5, 6 and 7, and Science in Grades 4, 6, and 7. See Appendix B to HISD's Student Performance

Guidebook at 46, available at

http://hisdeffectiveteachers.org/assets/SP Guidebook 7-11-12 FINAL with links.pdf.

        64. SAS® has stated that in order for test data to be used in the EVAAS® analysis, it

must be "highly correlated" with the state's curricular standards. SAS® EVAAS® Statistical

Models, S. Paul Wright, John T. White, William L. Sanders, June C. Rivers, March 25,2010 at 2.

HISD has also stated that one of the "guiding principles" of its evaluation system is the necessity

that the "measures should be sufficiently aligned" to the curriculum. See HISD' s Student

Perfmmance Guidebook at 2 - 3, available at

http://hisdeffectiveteachers.org/assets/SP Guidebook 7-11-12 FINAL with links.pdf.

       65. The acknowledged lack of alignment means that the Stanford/Aprenda test results used

to generate the EVAAS® scores are not based on what these middle school teachers are actually

teaching. For example, in 2013, plaintiff Daniel Santos, a sixth grade social studies teacher,

received a value-added repott deeming him as "least effective" because his students performed

well below expectations on a test that did not test them on what he was required to have taught

them. Ivan Castillo, a foutth grade bilingual teacher who was required this year, 2013-2014, to

also teach fourth grade social studies, faces the same situation for this year's ratings. These

teachers, and hundreds of others like them, are being held accountable for how their students

perform on tests covering subject matter for which the teacher is not responsible and indeed, which

the teacher would not be able to cover since the teacher is busy teaching the required Texas


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curriculum.

I.      Special problems: teachers of English language learneJ·s.

        66. HISD and SAS® have acknowledged that when students who are English language

learners take the STAAR or Stanford test in English, there is frequently a decline in test scores. For

example, SAS® has stated that "[s]tudents transitioning from Spanish tests to English tests

typically score measurably lower on the English test in their first year." SAS® EVAAS®

"Adjusting for Spanish to English Transition Teachers (2013). Even HISD does not contend that

the lower scores are attributable to the teacher; instead, they are attributable to the fact that the

students are taking the test in English.

        67. HISD has represented that the EVAAS® statistical analysis will be manipulated in

such a manner to ensure that teachers with a large number oftransitioning students will not be

disadvantaged. See Appendix B to HISD's Student Performance Guidebook at 46, available at

http://hisdeffectiveteachers.org/assets/SP Guidebook 7-11-12 FINAL with links.pdf.

        68. In its November 13, 2013, TPIA request to HISD, HFT sought the data related to the

manipulation of the scores for the transitioning ESL students of the teachers included in the

request. When HISD submitted its response, it did not provide the requested data but instead, only

included a general description of the process that EVAAS® uses, making it impossible to

examine, verify or challenge the manipulation.

        69. As a consequence of teaching a large number of English language learners, numerous

HFT members received EVAAS® scores that reflected a below average level of student growth.

This level of student growth is not attributable to the teacher's teaching practices.

J.     Special problems: teachers of academically high-achieving students.


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        70. Teachers of high-achieving students are still required to demonstrate that their students

showed above-average growth on standardized tests; otherwise, the teacher receives an EVAAS®

score that reflects a below average level of student growth.

        71. HISD has acknowledged that when some high-achieving students take standardized

tests, they do not show improvement because their scores are already quite high and cannot be

significantly improved. HISD 's Introduction to Student PeJ:formance, Teacher Appraisal &

Development System, October 2011. The teachers of those students experience what HISD has

termed the "ceiling effect." Even HISD does not contend that the students' failure to show

growth is attributable to the teacher; instead, the lack of improvement is attributable to the fact that

the students have reached the ceiling of how well they perform on standardized tests.

        72. HISD has represented that the EVAAS® statistical analysis will be manipulated in

such a manner to ensure that teachers with a large number of previously high-achieving students

can show above-average growth. HISD had stated that "appropriate adjustments are made" when a

teacher experiences a ceiling effect. See Appendix B to HISD's Student Performance Guidebook

at 46, available at

http://hisdeffectiveteachers.org/assets/SP Guidebook 7-11-12 FINAL with 1inks.pdf.

        73. In its November 13, 2013, TPIA request to HISD, HFT sought the data related to the

manipulation of the scores to ensure that teachers of previously high-achieving students can show

above-average growth with their students. When HISD provided its response, it stated that it did

not have such documents, making it impossible to examine, verify or challenge the manipulation.

        74. As a consequence of teaching a large number of high-achieving students, numerous

HFT members such as Andy Dewey and Myla VanDuyn received EVAAS® scores that reflected


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a below average level of student growth. This level of student growth is not attributable to the

teacher's teaching practices.

                                    VI. CAUSES OF ACTION

        75. Paragraphs 1 through 7 4 are incorporated herein.

       76.    The due process clause of the Fourteenth Amendment forbids government conduct

that deprives "any person of life, liberty, or property without due process oflaw." The due process

clause provides two major types of protection. First, substantive due process bars certain arbitrary,

wrongful government action regardless of the faimess of the procedures used and may require

courts to void certain types of government action that infringes upon individual rights and freedom

of action. Substantive due process requires that a govemment policy provide "fair warning" of

prohibited conduct. The policy must be sufficiently explicit to inform those who are subject to it

what conduct on their part will render them liable to its penalties. If a policy either forbids or

requires the doing of an act in terms so vague that people of common intelligence must necessarily

guess at its meaning and differ as to its application, it violates the due process clause. Second,

procedural due process requires the government to ensure that individuals are afforded ce1tain

procedures before they are deprived of life, libe1ty, or property.

A. Substantive due process violations.

       i. As applied to all teachei·s.

       77. All HISD teachers possess a property interest in their employment during the term of

their employment contracts. A mid-term termination of any teacher must meet constitutional due

process standards. Additionally, since continuing contract teachers have a contract of indefinite

duration, a termination of a continuing contract teacher at any time must meet such standards.


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        78. HISD's policy and practice to take contract action against teachers for "insufficient

student academic growth as reflected by value-added scores" violates their right to substantive due

process because it is unconstitutionally vague. It does not provide fair notice to teachers about

what level of student academic growth will be determined to be sufficient/insufficient during the

year in which the teachers are responsible for providing instruction to the students whose test

scores form the basis for the EVAAS® score. Additionally, the standard is unconstitutionally

vague because HISD' s EVAAS® system fails to inform teachers about what conduct on their part,

if any, has caused the students not to show the required level of academic growth.

        79. Further, the standard is arbitrary because the standards for effective performance are

continually being readjusted so that the same performance for the year in question will be rated

differently from one year to the next, with shifting consequences for the teacher. The constant

recalibration of teachers' EVAAS® scores means that employment decisions and consequences

will be based at least in patt on imprecise and volatile estimates which will change, rendering

reliance on them arbitrary.

        80. EVAAS® scores are an arbitrary and capricious measure of teacher effectiveness

because they are unstable and imprecise, and cam10t reasonably be used to draw conclusions about

the performance of individual teachers for the purposes of high stakes employment decisions.

        ii. As applied to teachers with below average EVAAS® scores.

        81. HISD's policy and practice of penalizing teachers who receive below average

EVAAS® scores for student performance by subjecting them to manufactured and arbitrary

deficiency ratings in the area of instructional practice to insure that their ratings in instructional

practice align with their student performance ratings is a violation of their substantive due process


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rights.

          iii. As applied to middle school science and social studies teachel's.

          82. The substantive due process component of the due process clause requires that an

individual's prope1iy rights should not be impaired or infringed upon for arbitrary reasons.

HISD itself has determined that for grades 6- 8 in both science and social studies, the standardized

test being administered to students, and upon which scores the EVAAS® scores are based, does

not align with HISD curriculum. Accordingly, middle school science and social studies teachers

are being held accountable for how their students perform on tests covering subject matter that the

teacher does not teach.

          83. It is arbitrary, irrational and unfair to attribute student test scores in grades 6- 8 in

science and social studies to their teachers, as HISD does with its EVAAS® scores.

          iv. As applied to teachel's of English language lea mel's.

          84. HISD itself has acknowledged that when students who are English language leamers

take the STAAR or Stanford test in English, there is frequently a decline in test scores. This

drop-off is not a result of the teacher's teaching practices but is a result of the students' transition to

taking the test in English for the first time.

          85. For teachers oflarge numbers of students transitioning to English, it is arbitrary,

irrational and unfair to attribute below-average growth to their teachers, as HISD does with its

EVAAS® scores.

          v. As applied to teachel's of academically high-achieving students.

          86. HISD has acknowledged that when some high-achieving students take standardized

tests, they do not show improvement because their scores are already quite high and cam10t be


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significantly improved. The failure of these students to show growth is not the result of the

teacher's teaching practices but is a result of the students having reached the ceiling of how well

they perform on standardized tests.

       87. For teachers oflarge numbers of previously high-achieving students, it is arbitrary,

inational and unfair to attribute below-average growth to their teachers, as HISD does with its

EVAAS® scores.

B. Procedural due process violations.

       88. The opp01iunity to defend against an employer's charges is the essence of procedural

due process in an employment context. It is not constitutionally acceptable for HISD to shield the

information necessary for a teacher to verify or challenge an EV AAS® score behind a cloak of

secrecy and at the same time, use the score as a sword against the teacher. HISD's actions deprive

a teacher of the right to effectively defend against a charge that her students have demonstrated

insufficient academic growth as reflected by EVAAS® scores.

       89. HISD' s refusal to provide teachers with information necessary to verify or challenge

EVAAS® scores in conjunction with their performance appraisal violates their procedural due

process rights. The inability of teachers to gain access to necessary and sufficient information to

challenge their EVAAS® scores in conjunction with their performance appraisal burdens and

compromises their propetiy interest in continued employment because their ability to contest a

subsequent termination proceeding based on those scores will be umeasonably limited. Under

state law, a teacher is required to grieve a performance appraisal, including student performance

scores, at the time she receives it. Even assuming, arguendo, that a teacher would be able to secure

additional information related to the EVAAS® score in the context of a proposed termination


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action (itself a dubious proposition), the due process hearing that is provided under state law will

not be adequate to protect the teacher's property interest because her opportunity for a full attack

on the EVAAS® score will have been compromised.

C. Equal Protection violations.

        90. The equal protection clause of the Fourteenth Amendment commands that no state

shall deny to any person within its jurisdiction the equal protections of the laws. This essentially

means that all persons similarly situated should be treated alike. Classifications that are the result

of public policy must, at the very least, bear a rational, non-arbitrary, relationship to a legitimate

governmental purpose.

        91. HISD has created a classification system of teachers with below average, average and

above average EVAAS® scores. HISD is requiring that its campus administrators align the

teachers' instructional practice scores with the EVAAS® scores that the teachers have received for

student performance, rather than allowing teachers' instructional practice to be measured by the

criteria designed for that purpose. Teachers with below average EVAAS® scores are subjected to

harsher, irrational, and arbitrary standards in the measurement of their instructional practices while

teachers with average or better scores are not.

                          VII. SUIT FOR DECLARATORY RELIEF

        92. Paragraphs 1 through 91 are incorporated herein.

        93. The federal Declaratory Judgment Act, 28 U.S.C. Section 2201, provides that "in the

case of actual controversy within its jurisdiction... any Court of the United States, upon the filing of

an appropriate pleading, may declare the rights and other legal relations of any interested parties

seeking such declaration, whether or not further relief is or could be sought." The plaintiff requests


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that the Court declare and determine the rights of its members pursuant to these provisions.

                               VIII. PRAYER FOR RELIEF

       94. WHEREFORE, the plaintiffs pray that following a hearing, they be granted the

following relief:

       a. That pursuant to 28 U.S.C. Section 2201, the Court enter a declaratory judgment that

HISD's policies, practices and actions, as described herein and applied to HFT members and the

individual plaintiffs, violate the rights of teachers under the due process and equal protection

clauses of the Fourteenth Amendment of the United States Constitution;

       b. That pursuant to 28 U.S.C. Section 2201, the Court enter a declaratory judgment that

HISD' s policies, practices and actions, of refusing to provide the information necessary to verify

or challenge an EVAAS® score, as described herein and applied to HFT members and the

individual plaintiffs, violates the rights of these teachers under the due process clause of the

Foutteenth Amendment to the United States Constitution;

       c. That the Court enjoin defendant HISD from using EVAAS® scores, or teacher

performance ratings that are based in whole or in part on EVAAS® scores, in evaluating teachers,

terminating or non-renewing teachers, making high stakes employment decisions, and otherwise

burdening and impairing their constitutional rights;

       d. That the Coutt enjoin HISD from evaluating teachers and otherwise burdening and

impairing their constitutional rights by subjecting teachers with below average EVAAS® scores to

arbitrary standards of measurement of their instructional practices;

       e. In the alternative, that the Coutt enjoin HISD from refusing to provide the information

necessary for teachers to verify or challenge an EVAAS® score;


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        f. In the alternative, to the extent that the Court does not enjoin, in toto, the use of

EVAAS® scores as requested herein, that the Comt enjoin the use ofEVAAS® scores in

evaluating and taking employment action against middle school science and social studies

teachers.

        g. In the alternative, to the extent that the Comt does not enjoin, in toto, the use of

EVAAS® scores as requested herein, that the Court enjoin the use ofEVAAS® scores in

evaluating and taking employment action against teachers of English language learners.

        h. In the alternative, to the extent that the Court does not enjoin, in toto, the use of

EVAAS® scores as requested herein, that the Court enjoin the use ofEVAAS® scores in

evaluating and taking employment action against teachers of high-achieving students.

        i. That the Comt award plaintiff attorney's fees and costs pursuant to 42 U.S.C. Section

1988;

        j. That the Court grant any other relief to which the plaintiff may be entitled.



                                               Respectfully Submitted,

                                               DEATS, DURST, OWEN & LEVY, P.L.L.C.




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                     EVAAS® Teacher   1 Filed on 04/30/14 in TXSD
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                                                              for 2013
                                 Houston Independent School District

    School:
    Teacher:
    Subject: STAAR 3-8/Stanford Social Studies, Grade 6

                                                                                        Comparison
                             Teacher                                      Standard for to Standard
                             Growth               Standard                 Academic    for Academic  Teacher
        Year                 Measure                Error                   Growth        Growth    Gain Index

       2012
       2013                     -3.1                   1.0                        0.0              Well Below                -3.19
     2-YrAvg

   Estimates are from multivariate, longitudinal analyses using all available test data for each student (up to 5 years). The analyses
   were completed via SAS® EVAAS® methodology and software, which is available through SAS Institute Inc. EVAAS, SAS, and all
   other SAS Institute Inc. product or service names are registered trademarks or trademarks of SAS Institute Inc. in the USA and
   other countries.® indicates USA registration. Other brand and product names are trademarks of their respective companies.
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Interpreting the Teacher Value-Added Report
Use this report to evaluate how well a teacher facilitates student progress. The Teacher Value-Added
Report compares each teacher's growth measure to the Standard for Academic Growth. This comparison
indicates how a teacher influences student progress in the given subject.
Teacher Growth Measure, Standard Error
The Teacher Growth Measure is a conservative estimate of a teacher's influence on students' academic
progress estimated by using all students linked to a teacher who were tested on STAAR or Stanford/Aprenda
in non-STAAR grades and subjects. It is expressed in state intra-year NCEs. The Standard Error provides
the basis for establishing a confidence band around the Teacher Growth Measure value. The Standard Error
is used in the statistical test reported under Comparison to Standard for Academic Growth. Previous years'
growth measures have been recalculated in 2013 to incorporate students' most recent testing data and may
have changed.
Standard for Academic Growth
The Standard for Academic Growth is the average progress of students in the state ofTexas in this subject
and grade.
Comparison to Standard for Academic Growth
The Comparison to Standard for Academic Growth column shows whether there is a difference in the
progress rate for this teacher compared to the Standard for Academic Growth. Comparisons are made
based on the standard error as below.
 -Well Above, Most Effective: Teachers whose students are making decidedly more progress than the
   Standard for Academic Growth (the teacher's index is 2 or more).
 -Above, Above Average Effectiveness: Teachers whose students are making more progress than the
   Standard for Academic Growth {the teacher's index is equal to or greater than 1 but less than 2).
 - NOD, Average Effectiveness: Teachers whose students are making progress equal to the
   Standard for Academic Growth (the teacher's index is equal to or greater than -1 but less than 1).
 - Below, Approaching Average Effectiveness: Teachers whose students are making less progress than the
   Standard for Academic Growth (the teacher's index is equal to or greater than -2 but less than -1 ).
 -Well Below, Least Effective: Teachers whose students are making decidedly less progress than the
   Standard for Academic Growth (the teacher's index is less than -2).
Teacher Gain Index
To calculate the Teacher Gain Index, divide the Teacher Growth Measure by the Standard Error. The
2012 Teacher Gain Index has been recalculated to use the Standard for Academic Growth instead of the
HISD Reference Gain.
                                                                                                                                         EXHIBIT

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